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1                                                     United States Magistrate Theiler
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7
                                 UNITED STATES DISTRICT COURT
8                               WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
9

10   IN RE: GRAND JURY INVESTIGATION                        )
     07-2                                                   )    NO. CR06-199RSM
11                                                          )
                                                            )
12   MAMESH PATEL a/k/a MAHESH PATEL,                       )    ORDER QUASHING MATERIAL
                                                            )    WITNESS ARREST WARRANT
13                                                          )
                                                            )
14                                                          )
                                                            )
15
             Upon advisement by the United States of America that the material witness,
16
     MAMESH PATEL, has fully complied with his obligation in an ongoing criminal
17
     investigation,
18
             IT IS ORDERED that the Material Arrest Warrant be quashed as to MAMESH
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     PATEL, and the witness to be immediately released from the custody of the United States
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     Marshal and returned to the custody of Immigration and Customs Enforcement.
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22           DATED this 5th day of September, 2008.
23

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25
                                                      A
                                                      Mary Alice Theiler
                                                      United States Magistrate Judge
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     Order Quashing Material Witness Arrest Warrant - 1                                  UNITED STATES ATTORNEY
                                                                                         700 STEWART STREET, SUITE 5220
                                                                                          SEATTLE, WASHINGTON 98101
                                                                                                 (206) 553-7970
